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                 Subject: Re: FaceTime failures -- Even for iOS 7.1 devices?
                   From: <kknight@apple.com>
            Received(Date): Wed, 23 Apr 2014 19:59:17 +0000
                      To: "Greg Joswiak" <joz@apple.com>
                      Cc: "Patrick Gates" <pgates@apple.com>,"Craig Federighi"
                            <federighi@apple.com>, "Eddy Cue" <cue@apple.com>,"Justin Wood"
                            <woody@apple.com>, "Darin Adler" <darin@apple.com>,"Kim Vorrath"
                            <koefoed@apple.com>, "Josh Williams" <jowilliams@apple.com>
                    Date: Wed, 23 Apr 2014 19:59:17 +0000

           AppleCare is incorporating the feedback from our last meeting. Should have a clean version soon
           and expect to be able to approve that version to go live.

           Sent from my iPhone

           On Apr 23, 2014, at 12:58 PM, Greg Joswiak <joz@apple.com> wrote:

           + Kurt who is working on the KB as we speak.

           Joz

           On Apr 23, 2014, at 12:36 PM, Patrick Gates <pgates@apple.com> wrote:

            All, a quick update:

            Apple Care is seeing a large increase in contacts around this issue - about 10x the usual
            FaceTime-related contact volume. We’ve been tracking individual cases and so far haven’t
            found any case where both endpoints were in fact on up-to-date software. From reading blogs
            etc. it looks like some people don’t realize there’s an iOS 6 update available for hardware not
            supported by iOS 7, and others who would like us to offer an iOS 6 update even though they’re
            eligible for iOS 7.

            - Patrick

            On Apr 20, 2014, at 12:02 PM, Patrick Gates <pgates@apple.com> wrote:

            All, here's the latest from iCloud Support:

            Update on our outreach stuff:
            1. On the two pending ER escalations, I’ve asked to see if any followup today is possible, or if
            not, first thing Monday morning.
            2. I dug through a few recent AppleCare cases where 7.1 is called out as still not working, and
            asked for immediate outreach to confirm that both parties are up-to-date, and that if still having
            issues, that they recreate the issue with the logging profile installed.




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            I don't think, unfortunately, that any of this will be immediate (even on a non-weekend, it takes
            time to get the profile to a customer, and get the logs back., etc, etc).

            I'll be spot-checking these outreach attempts throughout the day to see if we've had any
            success. If anyone has any immediate asks or needs additional information from the support
            side of things, please iMessage me.

            -Artie

            - Patrick

            On Apr 20, 2014, at 10:02 AM, Patrick Gates <pgaleg@apnlesog1> wrote:

            Adding Joz.

            - Patrick

            On Apr 19, 2014, at 10:36 PM, Patrick Gates <pgateg@apy_le qn3> wrote:
             I did the exact same thing. It turns out the CA. pinning fix is in 7.0.4.

             - Patrick

             On Apr 19, 2014, at 10:29 PM, Craig Federighi <fe.c!qrighi@applegom> wrote:

             My wife (running iOs 7.1) just tried to connect to my daughters phone (running, I just
             discovered, iOS 7.03) and it failed. This is surprising given that 7.0.3 (Taos) should have had
             the necessary fix.
             Ideas?

             If you need to check logs, my wife's phone it                COnfidential

             Thanks,

             - craig

             On Apr 19, 2014, at 9:01 PM, Patrick Gates <p_gales@applesom> wrote:

             We've checked server logs and stats and everything looks normal - there's nothing to indicate
             a problem. We've all tried to reproduce but we can't, and we haven't found anything we can
             work with in the support forums.

             Our next step is to see if we can get something from support.

             - Patrick

             On Apr 19, 2014, at 6:48 PM, Patrick Gates <pgates@apple om> wrote:
             Hi Craig -




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             This isn't a known issue - we're digging in now, please stand by.

             - Patrick

             On Apr 19, 2014, at 6:43 PM, Craig Federighi <federighi@apple.com> wrote:

             Patrick and Justin,
             Some customers are complaining that FaceTime is failing for them on iOS7.1 to iOS7.1
             connections:

             https://discussions.apple.com/message/25521016?ac_cid=tw123456#25521016

             <PastedGraphic-1.png>
             <PastedGraphic-2.png>
             <PastedGraphic-3.png>
             Do we understand what’s going on here?

             Thanks,

             - craig




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